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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-389 (RBW)
                                     )
JOSEPH ELLIOTT ZLAB,                 )
                                     )
                  Defendant.         )
____________________________________ )

                                             ORDER

       In accordance with the oral rulings issued by the Court at the status hearing held on

November 19, 2021, via videoconference, it is hereby

       ORDERED that the parties shall appear before the Court for a plea hearing on January 6,

2022, at 2:00 p.m., via videoconference. It is further

       ORDERED that, with the consent of the parties, the time from November 19, 2021, until

the status hearing scheduled for January 6, 2022, is excluded under the Speedy Trial Act, in

order to permit counsel to engage in further discussions regarding how this case should be

resolved.

       SO ORDERED this 19th day of November, 2021.



                                                             ________________________
                                                             REGGIE B. WALTON
                                                             United States District Judge
